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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:11CR114
                              )
          v.                  )
                              )
ALLAN ROUSTAND-ROLON,         )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

for extension of time to file objections to presentence

investigation report (Filing No. 114).          The Court finds the

motion should be granted.      Accordingly,

           IT IS ORDERED that the motion is granted; defendant

shall have until December 19, 2011, to file objections to the

presentence investigation report and a supporting brief

           DATED this 9th day of December, 2011.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
